 Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 1 of 17 PageID 1




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

DISPLAY TECHNOLOGIES, LLC,         §
                                   §
      Plaintiff,                   §         Case No:
                                   §
vs.                                §         PATENT CASE
                                   §
MICROLIFE USA, INC.,               §
                                   §
      Defendant.                   §
__________________________________ §

                                  COMPLAINT

      Plaintiff Display Technologies, LLC (“Plaintiff” or “Display”) files this

Complaint against Microlife USA, Inc. (“Defendant” or “Microlife”) for

infringement of United States Patent No. 9,300,723 (the “‘723 Patent”).

                        PARTIES AND JURISDICTION

      1.     This is an action for patent infringement under Title 35 of the United

States Code. Plaintiff is seeking injunctive relief as well as damages.

      2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331

(Federal Question) and 1338(a) (Patents) because this is a civil action for patent

infringement arising under the United States patent statutes.

      3.     Plaintiff is a Texas limited liability company with an address of 1

East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

      4.     On information and belief, Defendant is a Delaware corporation



 COMPLAINT AGAINST MICROLIFE USA, INC.                                        Page | 1
 Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 2 of 17 PageID 2




with a principal place of business at 1617 Gulf to Bay Boulevard, 2nd Floor,

Clearwater, FL 33755. On information and belief, Defendant may be served

through its registered agent, Kevin Horan, at the same address.

      5.     This Court has personal jurisdiction over Defendant because

Defendant has committed, and continues to commit, acts of infringement in this

District, has conducted business in this District, and/or has engaged in

continuous and systematic activities in this District.

      6.     Upon information and belief, Defendant’s instrumentalities that are

alleged herein to infringe were and continue to be used, imported, offered for

sale, and/or sold in this District.

                                      VENUE

      7.     On information and belief, venue is proper in this District under 28

U.S.C. § 1400(b) because Defendant is a resident of this District. Alternatively,

acts of infringement are occurring in this District and Defendant has a regular

and established place of business in this District.

                          COUNT I
      (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)

      8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.

      9.     This cause of action arises under the patent laws of the United States

and, in particular, under 35 U.S.C. §§ 271, et seq.

      10.    Plaintiff is the owner by assignment of the ‘723 Patent with sole


 COMPLAINT AGAINST MICROLIFE USA, INC.                                        Page | 2
 Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 3 of 17 PageID 3




rights to enforce the ‘723 Patent and sue infringers.

      11.    A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

      12.    The ‘723 Patent is valid, enforceable, and was duly issued in full

compliance with Title 35 of the United States Code.

      13.    Defendant has infringed and continues to infringe one or more

claims, including at least Claim 1 of the ‘723 Patent by making, using, and/or

selling media systems covered by one or more claims of the ‘723 Patent. For

example, Defendant makes, uses, and/or sells the Microlife Connected Health+

app, Microlife BP monitor, associated software, hardware and/or apps, and any

similar products (“Product”). Defendant has infringed and continues to infringe

the ‘723 Patent in violation of 35 U.S.C. § 271.

      14.    Regarding Claim 1, the Product is a media system. The Product

includes a media system (e.g., health app) configured to allow a user to view a

media file (e.g., health data) from a medical device by a media terminal (e.g.,

smartphone) from a media node (e.g., medical device) over a communication

network (e.g., Bluetooth network) through a communication link.             Certain

aspects of this element are illustrated in the screenshots below and/or those

provided in connection with other allegations herein.




 COMPLAINT AGAINST MICROLIFE USA, INC.                                         Page | 3
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 4 of 17 PageID 4




COMPLAINT AGAINST MICROLIFE USA, INC.                                Page | 4
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 5 of 17 PageID 5




COMPLAINT AGAINST MICROLIFE USA, INC.                                Page | 5
 Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 6 of 17 PageID 6




      15.   The Product includes at least one media terminal disposed in an

accessible relation to at least one interactive computer network. For example,

the Bluetooth network is used for sending health data from a media node

(medical device) by detecting a smartphone (at least one media terminal) when

the Product’s app is installed on the smartphone and connected with the

Product’s media node through a Bluetooth network (i.e., the smartphone is in an

accessible relationship with the interactive computer network). Certain aspects

of this element are illustrated in the screenshots below and/or in those provided

in connection with other allegations herein.


 COMPLAINT AGAINST MICROLIFE USA, INC.                                      Page | 6
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 7 of 17 PageID 7




COMPLAINT AGAINST MICROLIFE USA, INC.                                Page | 7
 Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 8 of 17 PageID 8




      16.   A wireless range is structured to permit authorized access to the at

least one interactive computer network. For example, the Bluetooth signals of

the Product’s medical device (media node) have a range within which the

smartphone (media terminal) may connect.

      17.   At least one media node is disposable within the wireless range,

wherein the at least one media node is detectable by the at least one media

terminal. For example, the Product’s medical device (media node) is detectable

by the media terminal (smartphone). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with

other allegations herein.



 COMPLAINT AGAINST MICROLIFE USA, INC.                                     Page | 8
 Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 9 of 17 PageID 9




      18.    At least one digital media file is initially disposed on at least one of

the at least one media terminal or the at least one media node and the at least one

media terminal is structured to detect the at least one media node disposed

within the wireless range. For example, the health data is initially disposed on

the media node (medical device/monitor) and the media terminal can detect the

medical device when it is within the appropriate range. Certain aspects of this

element are illustrated in the screenshots below and/or those provided in

connection with other allegations herein.




 COMPLAINT AGAINST MICROLIFE USA, INC.                                          Page | 9
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 10 of 17 PageID 10




 COMPLAINT AGAINST MICROLIFE USA, INC.                               Page | 10
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 11 of 17 PageID 11




      19.   A communication link is structured to dispose the at least one media

terminal and the at least one media node in a communicative relation with one

another via the at least one interactive computer network. For example, the

smartphone and medical device are in a communicative relation over the

Bluetooth network.

      20.   The communication link is initiated by the at least one media

terminal. For example, when the user turns on Bluetooth on the smartphone

(media terminal), the smartphone initiates the communication link.

      21.   The at least one media node and the at least one media terminal are

structured to transmit the at least one digital media file therebetween via the


 COMPLAINT AGAINST MICROLIFE USA, INC.                                    Page | 11
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 12 of 17 PageID 12




communication link. For example, the smartphone/app and the medical device

are structured to transmit health data from the device to the smartphone over

the wireless network.




 COMPLAINT AGAINST MICROLIFE USA, INC.                                 Page | 12
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 13 of 17 PageID 13




      22.    The communication link is structured to bypass at least one media

terminal security measure for a limited permissible use of the communication

link by the media node to only transferring the at least one digital media file to,

and displaying the at least one digital media file on, the at least one media

terminal. For example, the communication link is structured so that whenever

the user installs the Product’s app on the smartphone (media terminal), the

smartphone automatically connects (bypassing any security measures) with the

Product’s medical device through Bluetooth code (i.e., media terminal security)

whenever the smartphone comes to the range of the Bluetooth signals (for the

limited purpose of transferring data form the device to the smartphone).




 COMPLAINT AGAINST MICROLIFE USA, INC.                                       Page | 13
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 14 of 17 PageID 14




 COMPLAINT AGAINST MICROLIFE USA, INC.                               Page | 14
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 15 of 17 PageID 15




 COMPLAINT AGAINST MICROLIFE USA, INC.                               Page | 15
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 16 of 17 PageID 16




      23.   Defendant’s actions complained of herein will continue unless

Defendant is enjoined by this court.

      24.   Defendant’s actions complained of herein are causing irreparable

harm and monetary damage to Plaintiff and will continue to do so unless and

until Defendant is enjoined and restrained by this Court.

      25.   Plaintiff is in compliance with 35 U.S.C. § 287.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiff asks the Court to:

      (a)   Enter judgment for Plaintiff on this Complaint on all causes of action

asserted herein;

      (b)   Enter an Order enjoining Defendant, its agents, officers, servants,

employees, attorneys, and all persons in active concert or participation with

Defendant who receive notice of the order from further infringement of United

States Patent No. 9,300,723 (or, in the alternative, awarding Plaintiff running

royalties from the time of judgment going forward);

      (c)   Award Plaintiff damages resulting from Defendant’s infringement

in accordance with 35 U.S.C. § 284;

      (d)   Award Plaintiff pre-judgment and post-judgment interest and costs;

and

      (e)   Award Plaintiff such further relief to which the Court finds Plaintiff



 COMPLAINT AGAINST MICROLIFE USA, INC.                                      Page | 16
Case 8:21-cv-02487-VMC-JSS Document 1 Filed 10/22/21 Page 17 of 17 PageID 17




entitled under law or equity.



Dated: October 22, 2021            Respectfully submitted,


                                   /s/Barbra A. Stern
                                   Barbra A. Stern, Esquire
                                   Florida Bar No.: 526576
                                   Law Offices of Barbra Stern PA
                                   808 E. Las Olas Blvd. Suite 102
                                   Fort Lauderdale, FL 33301
                                   Phone: (954) 743-4710
                                   Direct Dial (954) 239-7249
                                   barbra@sternlawoffice.com


                                   ATTORNEY(S) FOR PLAINTIFF




 COMPLAINT AGAINST MICROLIFE USA, INC.                               Page | 17
